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13
                               UNITED STATES DISTRICT COURT
14
                                   DISTRICT OF ARIZONA
15
16                                                    No. 2:21-cv-00617-DWL

17   State of Arizona,
                                                      Response to Defendants’ Motion to
18                Plaintiff,                          Dismiss (Doc. 27)
            v.
19    Alejandro Mayorkas in his official
      capacity as Secretary of Homeland
20
      Security; United States Department of
21    Homeland Security; Troy Miller in his
      official capacity as serves as Senior
22    Official Performing the Duties of the
23    Commissioner of U.S. Customs and
      Border Protection; Tae Johnson in his
24    official capacity as Senior Official
25    Performing the Duties of Director of U.S.
      Immigration and Customs Enforcement;
26    United States Department of Defense;
27    Lloyd Austin in his official capacity as
      Secretary of Defense.
28
                  Defendants.

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28



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 1                                       INTRODUCTION
 2           Arizona brought this lawsuit against the federal government raising several
 3   challenges under the National Environmental Policy Act (“NEPA”), the Constitution, and
 4   the APA, including: (1) NEPA claims challenging Defendants’ failure to prepare
 5   environment impact statements (“EIS”) for several policies, including the halting of
 6   construction of border barriers (“Border Wall”) and cancellation of contracts regarding the
 7   same, and the termination of the Migrant Protection Protocol (“MPP”) program,1 as well
 8   as the Defendants’ overall policy concerning border enforcement; (2) APA claims
 9   challenging the arbitrary and capricious termination of Border Wall projects and the
10   termination of the MPP; and (3) constitutional and statutory claims challenging
11   Defendants’ failure to spend money appropriated by Congress on Border Wall projects.
12           Defendants’ motion to dismiss offers little substantive defense of these actions.
13   Instead, Defendants have run the same worn-out playbook they ran in opposing the State’s
14   motion for a preliminary injunction (and in a multitude of other APA suits). Roughly
15   speaking: no one ever has standing to challenge federal government action, everything is
16   committed to agency discretion, and nothing is ever reviewable under the APA. But these
17   recycled objections largely fail for the reasons explained previously and as set forth below.
18   And they again show why judicial review is so critically important to ensuring the rule of
19   law prevails in the United States: in Defendants’ view, for example, they have
20   unreviewable power to “implement” an explicit Congressional allocation of money to build
21   border barriers by refusing to build any such barriers. Once again, Defendants are
22   “executing” laws by flouting them. And while Defendants have called on Congress to
23   repeal those appropriations,2 one wonders might fairly wonder why they even bothered if
24   1
       Defendants have reissued the MPP termination after the Fifth Circuit and Supreme Court
25   upheld the Northern District of Texas’s injunction against their previous attempt to
     terminate the program. See DHS, Termination of the Migrant Protection Protocols (Oct.
26   29,       2021),       https://www.dhs.gov/sites/default/files/publications/21_1029_mpp-
     termination-memo.pdf. This new termination does not affect any of the questions
27   surrounding this Motion to Dismiss, although Arizona may seek to supplement its
     complaint in the future to address it.
28   2
         See, e.g., Press Release, DHS, DHS to Address Life, Safety, Environmental, and
                                                  1
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 1   their arguments here were correct: under them they have completely unreviewable power
 2   to effectively rescind those appropriations themselves, and Congressional repeal would be
 3   an empty formality.
 4           Defendants’ position that not even a scintilla of their actions here is reviewable by
 5   this Court is brazen and untenable. In essence, Defendants have reverted to Truman
 6   Administration’s position in Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579
 7   (1952), in which there were only “two limitations on the Executive power. One is the ballot
 8   box and the other is impeachment.”3 But President Truman’s view did not prevail in
 9   Youngstown Sheet, and courts have long ago made clear that federal courts are a critical
10   third limitation on executive action. And Defendants’ actions here run afoul of it.
11           Because the State has sufficiently pled viable claims under the lenient notice-
12   pleading standard of Rule 8, Defendants’ motion to dismiss should be denied.
13                                      LEGAL STANDARD
14           In considering a motion to dismiss under Rule 12(b)(1), the district court must
15   “construe all material allegations of fact in the complaint in favor of the plaintiff.”
16   Southcentral Found. v. Alaska Native Tribal Health Consortium, 983 F.3d 411, 416–17
17   (9th Cir. 2020). Similarly, the standard for surviving a motion to dismiss under Federal
18
     Rule of Civil Procedure 12(b)(6) is that the plaintiff must provide merely ‘“a short and
19
     plain statement of the claim showing the pleader is entitled to relief”’ which ‘“contains
20
     sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its
21
     face.”’ Disability Rights Montana, Inc. v. Batista, 930 F.3d 1090, 1096 (9th Cir. 2019)
22
     (citation omitted). Again, any material questions of fact should be construed in favor of the
23
     plaintiff. Id.
24
25
     Operational Considerations for Specific Border Barrier Projects (July 27, 2021),
26   https://www.dhs.gov/news/2021/07/27/dhs-address-life-safety-environmental-and-
     operational-considerations-specific-border (stating “The Biden-Harris Administration
27   continues to call on Congress to cancel remaining border wall funding and instead fund
     smart border security measures.”)
28   3
       Charlotte Butash, Impeachment as an Alternative to Judicial Review, Lawfare (Oct. 31,
     2019), https://www.lawfareblog.com/impeachment-alternative-judicial-review.

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 1                                           ARGUMENT
 2   I.      Arizona Has Standing To Assert Its Claims
 3           To have standing, “a plaintiff must show that [it] is under threat of suffering ‘injury
 4   in fact’ that is concrete and particularized; the threat must be actual and imminent, not
 5   conjectural or hypothetical; it must be fairly traceable to the challenged action of the
 6   defendant; and it must be likely that a favorable judicial decision will prevent or redress
 7
     the injury.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009).
 8
             The State explained in detail why it has standing to assert these claims in Reply to
 9
     its PI Motion (Doc. 29). In summary, Arizona has standing to assert all of its claims arising
10
     out of the Border Wall termination, the MPP, and Defendants’ general southern border
11
     strategy, for two reasons.
12
             First, the State provided specific allegations and provided reams of evidence for a
13
     host of impacts affecting the State which directly result from migration at wall gaps and
14
     from the migration caused by the termination of the MPP and Defendants’ other policies.
15
     See PI Motion (Doc. 15) at 7-16.4 These impacts are not remotely comparable to the
16
     impacts at issue in Arpaio v. Obama, 797 F.3d 11, 21 (D.C. Cir. 2015) and Whitewater
17
18   Draw Nat. Res. Conservation Dist. v. Mayorkas, 5 F.4th 997 (9th Cir. 2021), the primary

19   cases relied on by Defendants. In both of those cases there was considerable attenuation

20   between the 2012 DACA policy, subsequent immigration, and the alleged impacts. By

21   contrast, here there is no need to extrapolate at all from either the termination of the border

22   wall or the termination of the MPP to the impacts in question. Those impacts all are direct
23   and immediate consequences.
24           With respect to the Border Wall, the State’s allegations have been bolstered by
25   considerable evidence that migrants have been and are crossing—in incredible and
26
27   4
        To the extent that this Court might conclude that the State has not adequately alleged
     standing in the FAC, the evidence submitted in the preliminary injunction briefing provides
28   extensive examples of the allegations that the State could further add by amendment to
     satisfy any concerns about the adequacy of the standing allegations if necessary.

                                                    3
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 1   unprecedented numbers—in the areas where Defendants have terminated border wall
 2   construction. See, e.g., Napier Decl. at 3; Second Lamb Decl. at 2; Dannels Decl. at 2-3;
 3   see also PI Motion at 7-9; PI Reply at 10-11. Migrants damage the environment in crossing,
 4   see FAC ¶¶116-121, and by taking up residence in the State. Id. at ¶¶122-138. And the
 5   State alleged and provided specific evidence that migrants are encouraged to cross by the
 6
     government’s decision to terminate the MPP, amount to a catch-and-release policy at the
 7
     border. See, e.g., Makar Decl. Ex. G (explaining that many migrants come with the specific
 8
     expectation that they will be able to abscond from their hearings); Napier Decl. at 4.
 9
            Furthermore, the MPP by its mere operation directly places additional migrants in
10
     the State, leading directly to the growth impacts Arizona has alleged and supported, which
11
     go unchallenged by the Defendants’ motion. See 3d Makar Decl. Ex. MM (“160,000 illegal
12
     immigrants have been released [by DHS] into the U.S. … since March”). See Hanly v.
13
     Mitchell, 460 F.2d 640, 647 (2d Cir. 1972) (citation omitted) (NEPA ‘“must be construed
14
     to include protection of the quality of life for city residents. Noise, traffic, overburdened
15
     mass transportation systems, crime, congestion … all affect the urban ‘environment.’”).
16
17   The same is true with respect to Arizona’s wildlife impacts. See FAC ¶¶ 139-142.

18          Defendants do not seriously contend that their actions will not affect Arizona

19   wildlife, they only assert that such impacts will be positive. MTD at 5. It is not clear on

20   what basis Defendants could make that assertion, since they have not prepared an EIS or

21   any other environmental analysis. But in any case, it is irrelevant at this stage of the
22   litigation, where Arizona’s allegations must be accepted as true. Ashcroft v. Iqbal, 556 U.S.
23   662, 678 (2009) (citation omitted).
24          Second, with respect to Arizona’s NEPA claims, Defendants barely even mention
25   Massachusetts v. EPA—which found state standing in circumstances far more attenuated
26   than here. Massachusetts held that states are entitled to “special solicitude” in the standing
27   analysis, particularly when asserting procedural injuries. 549 U.S. 497, 520 (2007). In
28   Massachusetts, the Supreme Court held that a State could “assert [a statutory procedural]


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 1   right without meeting all the normal standards for redressability and immediacy.’” Id. at
 2   498 (citation omitted).
 3          This analysis was recently confirmed in Texas v. United States, __ F.Supp.3d __,
 4   No. 6:21-CV-16, 2021 WL 3683913, at *9–42 (S.D. Tex. Aug. 19, 2021). In Texas, the
 5   court confronted a similar claim of injury based on migration caused by administration
 6
     policy and stated that “the links between the States’ injuries and the [challenged action]
 7
     here are not perceptibly frailer than in Massachusetts and likely are firmer.” 2021 WL
 8
     3683913, at *20. See also Texas v. Biden, 10 F.4th 538, 547–52 (5th Cir. 2021) (holding
 9
     states had standing, inter alia, due to increased educational expenditures, health care
10
     expenses, and increased “costs on the state's correctional apparatus”). The same is true here
11
     and standing exists for the same reasons. Defendants’ arguments about the alleged
12
     attenuation of Arizona’s injuries all go to traceability, and they should be rejected in the
13
     special context of a State asserting a claim based on the denial of a procedural right.
14
            Defendants’ arguments bring nothing new. Arizona has standing because the federal
15
     government’s actions directly have led to serious impacts on environmental health and
16
17   safety in the State. The purpose of NEPA is to analyze such impacts before they occur,

18   which was not done. Defendants cannot now hide behind their own failure to analyze such

19   impacts and allege that they are not happening or that Defendants are not causing them.

20   And that is particularly true as this Court is required to accept the State’s allegations in its

21   Complaint as true in this posture—not Defendants’ ipse dixits expressed only in a legal
22   brief, and not an EIS or EA.
23   II.    Arizona’s NEPA Claims Should Proceed Under the Arguments Set Forth In
            Arizona’s PI Reply
24
25          Defendants essentially incorporate by reference here the host of justiciability and
26   jurisdictional arguments they raised to Arizona’s NEPA claims in their response to
27   Arizona’s PI Motion. As explained in Arizona’s PI Motion and Reply, none of these
28   arguments hold water. See PI Motion at 18-28; PI Reply at 19-22. And they are even weaker


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 1   in this context, where the State’s allegations must be accepted as true
 2             First, Arizona’s NEPA challenge to the termination of border wall construction
 3   should go forward notwithstanding the Secretary’s waiver of NEPA compliance for wall
 4   construction under IIRIRA. DHS’s authority to waive NEPA extends only to “ensure
 5   expeditious construction of barriers.” 8 U.S.C. § 1103 note (c)(1). Defendants, however,
 6   seek to use the waivers for the precise opposite purpose. This attempt to expand the
 7   Secretary’s waiver authority runs squarely contrary to the statute, as well as the text and
 8   purpose of the waivers themselves. PI Reply at 5-6. Similarly, Arizona’s claim does not
 9   “aris[e] from” the waiver provision; Arizona challenges the permanent termination of
10   construction, not the waivers, or the Secretary’s authority to waive NEPA compliance for
11   barrier construction. In re Border Infrastructure Env’t Litig., 915 F.3d 1213, 1221 (9th Cir.
12   2019). Defendants’ other arguments against Arizona’s NEPA challenge to the Border Wall
13   termination fare no better, for the reasons stated in detail in Arizona’s PI Reply. PI Reply
14   at 8-9.
15             Second, Defendants’ arguments against Arizona’s NEPA challenge to the MPP
16   should be rejected. These arguments are essentially the same arguments that DHS made to
17   the Fifth Circuit in Texas v. Biden, 10 F.4th 548 (5th Cir. 2021). These arguments were
18   rejected by that court and should be rejected here too. PI Reply at 21-23. In particular, the
19   Defendants’ attempt to shield their blanket construction halt under Heckler fails, because
20   the Heckler presumption of unreviewability applies to challenges to individual decisions
21   not to initiate enforcement actions, not sweeping policies of non-enforcement. See, e.g.,
22   ILWU v. Meese, 891 F.2d 1374, 1378 n.2 (9th Cir. 1989) (describing Heckler as applying
23   to “an agency's refusal to prosecute or enforce a statute in a specific case”); Bresgal v.
24   Brock, 843 F.2d 1163, 1169 n.1 (9th Cir. 1987) (same); see also OSG Bulk Ships, Inc. v.
25   United States, 132 F.3d 808, 812 (D.C. Cir. 1998) (explaining that “an agency's adoption
26   of a general enforcement policy is subject to review,” thereby distinguishing Heckler’s
27   presumption of unreviewability as applying only to individual cases of non-enforcement).
28             Finally, Arizona’s programmatic challenge should proceed. As alleged in Arizona’s


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 1   complaint, Defendants have previously recognized that their interlocking and related
 2   actions involving the southern border require programmatic treatment under NEPA. FAC
 3   ¶¶106-111. In addition, Arizona has alleged that Defendants are deliberately advancing
 4   policies as part of a program to increase migration. FAC ¶¶61-69. Accepted as true, this
 5   more than shows that some sort of programmatic treatment was appropriate here. PI Reply
 6   19-21.
 7   III.     Arizona’s APA Claims Are Cognizable
 8            Defendants seek to dismiss Arizona’s non-NEPA challenges to the border wall and
 9   the MPP terminations as “standalone APA claims.” This misunderstands the scope of APA
10   review and imposes a (false) requirement for Plaintiffs making APA challenges to allege
11   separate statutory violations. This is not the law; the APA creates a “presumption of judicial
12   review,” and Defendants’ rule would upend and reverse that presumption.
13            The APA states that “[a] person suffering legal wrong because of agency action, or
14   adversely affected or aggrieved by agency action within the meaning of a relevant statute,
15   is entitled to judicial review thereof.” 5 U.S.C. § 702. The Supreme Court has explained
16   that this provision establishes “basic presumption of judicial review for one suffering legal
17   wrong because of agency action.” DHS v. Regents of the Univ. of California, 140 S. Ct.
18   1891, 1905 (2020) (cleaned up). As explained above and in Arizona’s PI Motion and PI
19   Reply, Arizona has been adversely affected, and both the termination of border wall
20   construction and the termination of the MPP are “agency action[s] under a relevant statute”
21   within the meaning of the APA.
22            Defendants seem to argue (at 6-7) that the APA cannot apply unless the Plaintiff
23   alleges a specific statutory violation. Not so. Section 706 expressly provides that a
24   “reviewing court shall … hold unlawful and set aside agency action,… found to be …
25   arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5
26   U.S.C. § 706 (emphasis added). An agency violating a statute—i.e., taking action
27   “otherwise not in accordance of law”—is only one of several manners in which agencies
28   can violate the APA, which is underscored by the use of the disjunctive “or.” Agency action


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 1   that is “arbitrary and capricious,” for example, violates the APA even if it does not
 2   specifically violate the underlying statute. Defendants’ “standalone APA claim” arguments
 3   here thus flout the APA’s actual text.
 4          Instead, the cases Defendants rely on merely reaffirm that the APA does not apply
 5   when “agency action is committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). See
 6   also Oregon Nat. Res. Council v. Thomas, 92 F.3d 792, 797 (9th Cir. 1996) (“But before
 7   any review at all may be had, a party must first clear the hurdle of § 701(a).”) Int’l Bhd. of
 8   Teamsters v. U.S. Dep’t of Transportation, 861 F.3d 944, 954 (9th Cir. 2017) (“Agency
 9   action committed to agency discretion by law is exempt from APA review.”). That
10   exception encompasses only a “limited category” of “administrative decisions traditionally
11   left to agency discretion.” Regents, 140 S. Ct. at 1905 (citing Lincoln v. Vigil, 508 U.S.
12   182, 191 (1993)). And it is true that agency action may be committed to agency discretion
13   implicitly when there is “no meaningful standard against which to judge the agency’s
14   exercise of discretion.” Heckler v. Chaney, 470 U.S. 821, 830 (1985). But establishing this
15   unreviewability is a “heavy burden” and “where substantial doubt about the congressional
16   intent exists, the general presumption favoring judicial review of administrative action is
17   controlling.” Texas v. United States, 809 F.3d 134, 164 (5th Cir. 2015) (quoting Block v.
18   Cmty. Nutrition Inst., 467 U.S. 340, 351 (1984))
19          None of those case stands for the expansive proposition espoused here: i.e., that
20   APA review is unavailable without a specific statutory violation. Indeed, several Supreme
21   Court and Ninth Circuit decisions have reviewed agency action under the APA without
22   identifying a specific statute violated by the agency. See, e.g., Regents, 140 S. Ct. at 1905-
23   07 (holding unlawful under APA decision to terminate DACA for failing to adequately
24   address important factors bearing on decision); Trout Unlimited v. Pirzadeh, 1 F.4th 738,
25   758 (9th Cir. 2021) (concluding that “even though the statute contains a broad grant of
26   discretion” because agency regulations or practice provided a judicially manageable
27   standard “the decision is subject to judicial review under the APA”); Organized Vill. of
28   Kake v. U.S. Dep't of Agric., 795 F.3d 956, 967 (9th Cir. 2015) (concluding that exemption


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 1   of national forest from roadless rule was not supported by reasoned explanation and so
 2   violated the APA).
 3          These cases confirm the commonsense understanding that just because an agency
 4   has some discretion, their actions do not automatically fall within the narrow § 701(a)(2)
 5   exception to judicial review. Rather, if a statute, rule, or even agency practice imposes any
 6   meaningful limitations on agency authority, then the decisions of that agency are not within
 7   the committed-to-agency-discretion exception and are instead subject to general
 8   requirements of the APA, including limitations on reasoned decision making. For example,
 9   in Department of Commerce v. New York, 139 S. Ct. 2551 (2019), the Supreme Court
10   concluded that, because the Census Act “constrains the Secretary’s authority to determine
11   the form and content of the census” by, for example, circumscribing the Secretary’s power
12   to “collect information through direct inquiries” or by imposing “a duty to conduct a census
13   that is accurate,” the Department of Commerce was subject to APA requirements. Id. at
14   2568–69. The Court went on to remand the agency’s decision considering its pretextual
15   nature—not because it violated the express provisions of any statute. Id. at 2575–76.
16          Similarly, in Regents, the Supreme Court rejected the argument that DACA—and
17   the rescission of DACA—was simply a nonenforcement policy and immune from judicial
18   review. Rather, DACA “created a program for conferring affirmative immigration relief.”
19   Regents, 140 S. Ct. at 1906. This program was itself sufficient to “provide[] a focus for
20   judicial review” such that it could be subject to the strictures of the APA. Id. at 1906–07.
21   And ultimately the Court struck down the rescission of DACA for failing to be adequately
22   explained and failing to consider an important aspect of the problem. Id. at 1910–11.
23          The only questions then are whether the Border Wall and MPP Terminations fit
24   within this “narrow” exception in § 701(a)(2) to the APA’s presumption of judicial review.
25   Regents, 140 S. Ct. at 1905. They do not.
26          A. The Border Wall Termination Is Reviewable
27          Defendants’ decision to terminate border wall construction does not fit within the
28   narrow exception to reviewability articulated in § 701(a)(2). Defendants argue that the


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 1   statutory authority commanding the Secretary to build fencing—see Consolidated
 2   Appropriations Act, 2008, Pub. L. No. 110-161, § 564(2)(D), 121 Stat. 1844, 2091 (2007)
 3   (codified at 8 U.S.C. § 1103 note)—provides “no meaningful standard against which to
 4   judge the agency’s exercise of discretion” and therefore the agency’s decision is not
 5   reviewable under the APA. Heckler, 470 U.S. at 830.
 6          But these statutes constrain the Defendants’ authority in important ways. For
 7   instance, the section cited by Defendants states that the Secretary of DHS shall “take such
 8   actions as may be necessary to install additional physical barriers …to deter illegal
 9   crossings.” 8 U.S.C. § 1103 note (emphasis added). This section also provides that the
10   Secretary must identify “priority areas” where fencing would be “most practical and
11   effective in deterring smugglers and aliens” and construct fencing in that area. Id. While
12   this section expressly does not require the Secretary to construct fencing in any “particular
13   location,” it nonetheless provides “meaningful standard[s]” to guide judicial review.
14   Lincoln v. Vigil, 508 U.S. 182, 191 (1993). In addition, other barriers were built under 10
15   U.S.C. § 284, which gives the Secretary of Defense the authority to “provide support for”
16   “counterdrug activities” including the “construction of roads and fences…to block drug
17   smuggling corridors.”
18          Nothing in those provisions give DoD untrammeled discretion to act with
19   impunity—its actions must be related to counterdrug activity and its authority to construct
20   fences is limited to blocking drug smuggling corridors. And this is without even
21   mentioning Congress’s express demand to build border fencing in the Consolidated
22   Appropriations Acts of 2020 and 2021, which Defendants have persistently ignored. See
23   Pub. L. No. 116-93, 133 Stat. 2317 (2019) (allocating $1,375,000,000 for “construction of
24   barrier system along the southern border”).
25          While these sections give some discretion to the Secretary, they nonetheless provide
26   “meaningful standards” to judge the Defendants’ conduct, stating that Defendants should
27   build barriers to “deter illegal crossings” and specifying specific areas and ways in which
28   those barriers should be built. If anything, these provisions give more guidance to courts


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 1   than those found sufficient to convey reviewability in the Census Act. See Dep’t of
 2   Commerce, 139 S. Ct. at 2569 (finding “meaningful standard” in language requiring the
 3   Secretary of Commerce to “conduct a census that is accurate and that fairly accounts
 4   for…representational rights.”).
 5          To illustrate the limitations on this discretion, DHS clearly could not, for example,
 6   build fencing surrounding the District of Arizona Courthouse, because such a wall would
 7   not “deter illegal crossings.” The Secretary’s decisions here are similarly unjustifiable and
 8   must be reviewed under the APA. According to the State’s allegations—which presently
 9   must be accepted as true—the Secretary has finally determined to terminate all border wall
10   construction, contrary to what DHS had studied and planned. FAC ¶78-79. None of the
11   gaps in the wall was the product of “planning or reasoned decision-making” and the state
12   of the border is “entirely arbitrary.” Id. ¶86. Furthermore, the purpose of Defendants’
13   actions here, squarely contrary to the statutory authority to build the fencing project in the
14   first place, was to increase migration. Id. ¶88-89. This final decision was taken not under
15   some untrammeled authority but rather under the Defendant’s limited statutory authority
16   to construct fencing to reduce migration and to block drug smuggling corridors.
17          Nor does anything in Arizona’s claim seek to have border fencing built in any
18   “particular location.” Rather, Arizona challenges this entirely arbitrary and unplanned
19   action to terminate wall construction altogether. Because the statute provides sufficiently
20   meaningful limitations on the Secretary’s discretion, Arizona’s challenge should be
21   considered reviewable.
22          B. Arizona’s MPP Challenge Is Reviewable
23          Arizona’s challenge to the MPP is also reviewable, as confirmed by the Fifth Circuit
24   in Texas v. Biden, 10 F.4th at 551 and implicitly affirmed by the Supreme Court when it
25   refused to stay the injunction in that case in Biden v. Texas, No. 21A21, 2021 WL 3732667,
26   at *1 (U.S. Aug. 24, 2021). The Fifth Circuit expressly found the termination of the MPP
27   was not a mere nonenforcement decision. As the court explained: “the termination of MPP
28   is more than a non-enforcement policy, just like the DACA program at issue in


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 1   Regents….MPP was a government program—replete with rules procedures and dedicated
 2   infrastructure.” Texas v. Biden, 10 F.4th at 551. Ultimately, the Fifth Circuit determined
 3   that Texas had shown a strong likelihood of success on the merits because the Secretary’s
 4   termination of the MPP had failed to consider “relevant factors” and “important aspects of
 5   the problem.” Id. at 552–53.
 6          Arizona’s claim here is fundamentally identical to that held meritorious by both the
 7   Fifth Circuit expressly and the Supreme Court implicitly when it denied Defendants’
 8   request for a stay. This Court should follow those courts and allow the claim to proceed.
 9   IV.    Arizona’s Claim Under The Take Care Clause Should Proceed
10          Defendants make three arguments against Arizona’s Take Care Clause Claim. First,
11   they argue that such claims are non-justiciable entirely. Second, they assert that the claim
12   is an “impermissible attempt to circumvent” APA review. Third, Defendants argue that no
13   violation has taken place. Each of these arguments fails as a matter of law and when faced
14   with Arizona’s allegations.
15          A. Arizona’s Take Care Clause Claim Is Justiciable
16          Arizona’s Take Care claim is straightforward. Arizona alleges that Congress
17   appropriated nearly $3 billion for “the construction of a barrier system along the southwest
18   border.” FAC at ¶ 82 (citing Consolidated Appropriations Act, 2020, Pub. L. No. 116-93,
19   133 Stat. 2511 (2019); Consolidated Appropriations Act, 2021, Pub. L. No. 115-141, 132
20   Stat. 348 (2021)). In spite of this affirmiative obligation, Defendants have—consistent with
21   the President’s proclaimation—determined not to spend these funds, decided to illegally
22   impoud them, and have resorted to repeatedly asking Congress to relieve them from this
23   known illegallity by cancelling the funding. Supra at 1-2 n.2. This blatant violation of the
24   law is itself sufficient to rule on Arizona’s APA claim against the refusal to build the Border
25   Wall. But, in addition, no more clear violation of the Take Care Clause of the Constitution
26   could be imagined than this attempt to dispense with a law of Congress.5
27   5
       Arizona’s reference to the Impoundment Control Act (ICA) is not meant to establish a
28   claim separate from the Take Care Clause. Rather, the ICA serves to illustrate that the
     Executive has no discretion to unilaterally impound these funds. Congress has
     affirmatively and authoritatively set forth a process, which has not been followed here. 2

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 1          Defendants cite two Supreme Court cases which allegedly stand for the proposition
 2   that this claim is not cognizable. First is State of Mississippi v. Johnson, 71 U.S. 475, 499
 3   (1866). That case addressed an attempt to enjoin the President to attempt to force him to
 4   enforce and execute the Reconstruction Acts, recently passed by Congress. Id. at 475. This
 5   case is not applicable—the problem in that case was that the Plaintiffs sought to enjoin the
 6   President of the United States, not that they brought their suit under the Take Care Clause.
 7   A subsequent case—also cited by Defendants (at 9)—explained this important distinction,
 8   explaining that it was at best “unclear” whether Johnson foreclosed Take Care claims,
 9   especially those not against the President. See Citizens for Resp. & Ethics in Washington
10   v. Trump, 302 F. Supp. 3d 127, 139 (D.D.C. 2018), aff’d, 924 F.3d 602 (D.C. Cir. 2019),
11   and aff’d, 924 F.3d 602 (D.C. Cir. 2019). That case went on to endorse a completely
12   different reading of Johnson, although it felt it did not need to formally reach the issue: “it
13   may be the case that Johnson is best understood as a political question case, rather than one
14   about the Take Care Clause in particular. The D.C. Circuit has hinted at such an
15   understanding, stating that the Supreme Court ultimately dismissed the case “on the ground
16   that it presented a political question.” Id.
17          The second case cited by Defendants is Lujan v. Defenders of Wildlife, 504 U.S.
18   555, 577 (1992), which held that Congress could not, by statute, convey standing for
19   generalized grievances under Article III. But this case—even less than Johnson—does not
20   speak to whether a Plaintiff can bring a claim under the Take Care Clause. Arizona is not
21   attempting to assert some kind of generalized grievance against the Executive—rather,
22   Arizona has suffered an particularized and concrete injury by way of the Defendants’
23   violation of their constitutional duty to expend money appropriated by Congress for a
24   single purpose. Nothing in Lujan suggests that when individualized injuries are at stake
25   due to a constitutional violation, there is no remedy available.
26          At best, the authorities cited by Defendants’ state that it is “unclear” whether some
27   Take Care claims against the President are be justiciable. Cf. United States v. Texas, 577
28   U.S.C. § 681-688 (establishing congressional oversight when the Executive defers budget
     authority).

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 1   U.S. 1101 (2016) (specifically directing parties to address the issue of whether DACA
 2   “violates the Take Care Clause of the Constitution”). But it is simply not true that courts
 3   have not entertained these claims. Rather, in Center for Biological Diversity v. Bernhardt,
 4   946 F.3d 553 (9th Cir. 2019), the Ninth Circuit rejected—but not on jurisdictional
 5   grounds—a claim brought under the Take Care alleging that the Department of the Interior
 6   should have reinstated a rule rescinded under the Congressional Review Act. Id. at 561–
 7   62. The Court expressly stated that it was “not barred from considering CBD’s
 8   constitutional claim” which alleged that the CRA and joint resolution impinged on the
 9   Executive’s authority and violated separation of powers principles. Id. at 562. While
10   CBD’s claim is undoubtedly different in significant ways from Arizona’s, the Court’s
11   decision to consider a cause of action under the Take Care Clause against an executive
12   agency nonetheless shows the enforcability of that clause in court. See also City & Cty. of
13   San Francisco v. Trump, 897 F.3d 1225, 1234 (9th Cir. 2018) (concluding that Executive
14   Order which directs agencies to withhold funds appropriated by Congress violates the
15   separation of powers, including the Take Care Clause).
16          Nor would Defendants’ position on the non-justiciability of Take Care Clause
17   claims comport with the Supreme Court’s admonition that “the Judiciary has a
18   responsibility to decide cases properly before it, even those it would gladly avoid.”
19   Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 194 (2012). Arizona has suffered a
20   particularized and concrete injury as a result of the Defendants’ failure to comply with their
21   constitutional responsibilities, the case is ripe, and there is adversity. Accordingly, this
22   claim should go forward despite that Take Care Clause claims are rare.
23          B. Arizona’s Take Care Clause Claim Does Not “Circumvent” APA Review
24          Defendants next argue that Arizona’s Take Care claims circumvent APA review by
25   challenging agency action through an avenue other than the APA. MTD at 9-10. According
26   to Defendants, Arizona’s Take Care claim would imply that any party could bypass the
27   APA by simply framing a claim against the government as a violation of the Take Care
28   Clause. Id. at 10.


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 1          As an initial matter, Defendants’ putative concern for potential circumvention of
 2   judicial review under the APA is a little rich given their contention that no such review is
 3   available for any of the State’s APA claims here, or Texas’s MPP claims, or any number
 4   of other immigration cases where the United States has repeatedly—and unsuccessfully—
 5   argued that APA review was completely unavailable. See Texas v. United States, 2021 WL
 6   3683913 at *20-42 (rejecting multiple reviewability arguments); Regents, 140 S. Ct. at
 7   1905-07 (2020) (same). Here the State’s Take Care claim validly complements the State’s
 8   APA claims and is a validly pled alternative basis for invalidating Defendants’ Border Wall
 9   Construction Termination. There is nothing that prevents agency action from violating both
10   the Constitution and the APA.
11          In any event, Defendants’ arguments misunderstand the State’s Take Care claim. A
12   Take Care claim only arises when the Executive violates his duty to enforce the law and,
13   by inaction, attempts to achieve a policy goal contrary to that set by Congress. See, e.g.,
14   City & Cty. of San Francisco, 897 F.3d at 1234 (“[T]he obligation is an affirmative one,
15   meaning that failure to act may be an abdication of the President's constitutional role.”).
16   As the SDNY has explained, “[u]nlike in Dalton, Plaintiffs’ contention is not that the
17   President simply did not fully comply with a congressionally prescribed process, Rather,
18   Plaintiffs claim that the President’s actions affirmatively displaced a congressionally
19   mandated” process. Make the Rd. New York v. Pompeo, 475 F. Supp. 3d 232, 258–59
20   (S.D.N.Y. 2020). This displacing of the Congressional mandate, “implicate[s]
21   constitutional separation of powers concerns not present in Dalton” and is properly
22   concisdered a constitutional claim. Id. Accordingly, Take Care claims are necessarily
23   limited to a specific set of cases. The Take Care Clause applies where the Executive is
24   subject to a particular obligation and, under the guise of nonenforcement (as in DACA) or
25   “prioritization” (as here) or some other purportedly discretionary authority, the Executive
26   is displacing that obligation and pursuing a policy contrary to Congress’s express
27   enactments.
28          Notwithstanding Defendants’ assertions, such a claim does not arise in an ordinary


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 1   case where an agency acts in excess of their statutory authority, but it does apply where the
 2   agency seeks to dispense with a law in order to pursue some contrary policy goal. If the
 3   executive is allowed to flout Congress’s express command in the guise of discretion, the
 4   Take Care Clause is implicated and a constitutional claim is present. Cf. In re Aiken Cty.,
 5   725 F.3d 255, 267 (D.C. Cir. 2013) (“It is no overstatement to say that our constitutional
 6   system of separation of powers would be significantly altered if we were to allow executive
 7   and independent agencies to disregard federal law in the manner asserted… unless and
 8   until Congress authoritatively says otherwise.”). See also San Francisco, 897 F.3d at 1233-
 9   34 (order which commanded agency to withhold grant money in contradiction to
10   Congressional statutes violated Take Care Clause and separation of powers principles).
11          C. Arizona Has Adequately Plead A Take Care Clause Claim
12          Finally, Defendants argue that DHS is merely “prioritizing” closing out existing
13   border barrier projects and that DHS’s June 9, 2021 Border Wall Plan is fully compliant
14   with its obligations under Congress’s extant appropriations statutes. MTD at 10-11. But
15   that contention simply refused to accept the State’s allegations as true, and thus necessarily
16   fails at this stage. Arizona’s complaint need only “contain[] sufficient factual matter,
17   accepted as true, to state a claim to relief that is plausible on its face.” Disability Rights
18   Montana, Inc., 930 F.3d at 1096.
19          Accordingly, it does not matter if DHS alleges that it will get to spending the $3
20   billion allocated for Southern Border fencing later. Arizona specifically alleged that
21   Defendants have finally terminated the construction of the border wall and have no
22   intention of spending that money. FAC ¶ 87. This follows from the President’s repeated
23   statements on the matter, as detailed in the complaint. See FAC ¶¶ 70-89. These allegations
24   should be accepted as true, and on their face, they show that the President is illegally
25   impounding the funds designated to construct border barriers.
26          Defendants’ “Border Wall Plan” does nothing to undermine those allegations. The
27   “plan” states the intent to spend “no more American taxpayer dollars” on a border wall.
28   DHS, Border Wall Plan Pursuant to Presidential Proclamation 10142 (June 9, 2021),


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 1   https://www.dhs.gov/sites/default/files/publications/21_0611_dhs_security_border_wall_
 2   plan.pdf. Many of the various projects entertained in the plan do not seem to be consistent
 3   with the express purpose of the funds provided in the Consolidated Appropriations Acts,
 4   but even if they were, it remains unclear from viewing the plan itself how the money
 5   allocated by Congress is specifically being spent and how that money traces back to the
 6   specific purposes for which it was allocated.
 7          Indeed, it appears from existing debates in Washington that the money is not
 8   intended to be spent, as Democratic members of Congress are seeking to rescind $1.9
 9   billion of this funding even as of a few days ago. See Aris Folly, Senate Republicans call
10   on colleagues to reject government spending bills without border wall funding, The Hill
11   (Nov. 15, 2021), https://thehill.com/policy/finance/budget/581622-senate-republicans-
12   call-on-colleagues-to-reject-government-spending. If Defendants’ claims were true that the
13   Border Wall Plan is completely consistent with existing appropriations, why does it have
14   to be changed by Congress, as Defendants have been requesting? See also supra at 1-2 n.2.
15                                        CONCLUSION
16          Defendants’ Motion to Dismiss should be denied.
17
18          RESPECTFULLY SUBMITTED this 18th day of November, 2021.
19
                                               MARK BRNOVICH
20                                             ATTORNEY GENERAL
21
                                               By: /s/ Drew C. Ensign            .
22
                                                  Joseph A. Kanefield (No. 15838)
23                                                Brunn W. Roysden III (No. 28698)
                                                  Drew C. Ensign (No. 25463)
24
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25                                                  Assistant Attorneys General
26                                             Attorneys for Plaintiff State of Arizona

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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on this 18th day of November, 2021, I electronically filed the
 3   foregoing with the Clerk of the Court for the United States District Court for the District
 4   of Arizona using the CM/ECF filing system. Counsel for all parties are registered CM/ECF
 5   users and will be served by the CM/ECF system pursuant to the notice of electronic filing.
 6
 7                                            s/ Drew C. Ensign
 8                                            Attorney for the State of Arizona

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